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                                                                                            L31,C,•4•V:F.I.,}P1G.' CoNT
                                                                                          NORTHERN DISTInT
                          UNITED STATES BANKRUPTCY COURT                                            GE          A
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION                                    - 2022 NAY -9      PM 3: 4,3
                                                                                                        THCAIAS
                                                                                                  Ctr
IN RE:                                                      CHAPTER 7
TALITHA SIMMONS FLEMING,
                                                            CASE NO. :22-51787- LRC
       DEBTOR,


WILLIAM C. EAKIN,
     MOVANT,

V.                                                          CONTESTED MATTER
TALITHA SIMMONS FLEMING,
KATHLEEN STEIL, TRUSTEE
     RESPONDENTS.


  MOTION OBJECTING TO DISCHARGE OF JUDGMENT LIEN AND MOTION TO
        DISMISS OR CONVERT CASE FOR PRESUMPTION OF ABUSE


       COMES NOW WILLIAM C. EAKIN and moves this Honorable Court to enter an order

denying discharge of the judgment debt owed by TALITHA SIMMONS FLEMING ("Debtor")

to Movant, pursuant to 11 U.S.C. §§ 707 and §§ 727, and in support thereof, states as follows:



                               I.     STATEMENT OF FACTS

                                                1.

        The Court has jurisdiction of this matter under 28 U.S.C. § 1334(a) and (b), 28 U.S.C. §

 157(a) and (b)(1) and 28 U.S.C. § 151. This is a core proceeding under 28 U.S.C.

 §157(b)(2)(A) and (B).

                                               2.

        On March 4, 2022, Debtor commenced the underlying bankruptcy case (Case No. 22-

 51787-1re) by filing a petition for relief under Chapter 7 of the United States Bankruptcy Code.
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                                                3.

       The United States Trustee appointed Kathleen Steil, as Chapter 7 Trustee in this case,

and she continues to serve in that capacity.

                                                4.

       The Trustee initially scheduled the § 341 Meeting of Creditors for April 6, 2022. After

Debtor failed to appear, the Trustee reset the meeting to May 10, 2022. As of the filing of this

Motion the 341 Meeting of Creditors is still pending.

                                                5.

       Records maintained by the Clerk of Court for the United States Bankruptcy Court reflect

that Debtor has previously filed four (4) bankruptcy cases, making the instant case her fifth

filing, and her third Chapter 7 case, to wit: Case Number 14-60899, Chapter 13 filed in

Georgia Northern Bankruptcy Court on 06/02/2014, Dismissed for failure to make plan payments

on 06/06/2015; Case Number 13-51065, Chapter 13 filed in Georgia Northern Bankruptcy Court

on 01/18/2013, Dismissed for failure to make plan payments on 05/22/2014; Case Number 12-

72051, Chapter 7 filed in Georgia Northern Bankruptcy Court on 09/01/2012,Standard Discharge

on 12/13/2012; Case Number 02-12068, Chapter 7 filed in Indiana Southern Bankruptcy Court on

07/16/2002 , Standard Discharge on 10/29/2002.

                                                 6.

       Movant holds a judgment lien against Debtor for damages arising from Debtor's breach of

two sub-leases contracts, unjust enrichment, and attorney's fees. Movant seeks repayment of

sums he paid on behalf of the Debtor and that remain un-reimbursed, in the amount of

$160,154.55. A copy of the Writ of FIFA that was filed and recorded in the Superior Court of

Dekalb County on April 8, 2022 is incorporated hereto as Exhibit "A".
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                                II. CITATION OF AUTHORITY

                                                 7.

       Section 707(b)(1) provides that, after notice and a hearing, the Court may dismiss a case

filed by individuals whose debts are primarily consumer debts if it finds that granting relief would

be an abuse of the provisions of chapter 7.

                                                 8.

       Section 707(b)(2) provides a mathematical formula for the Court to objectively assess a

debtor's ability to repay debts from disposable income over a 60-month period following the date

of the filing of the petition. Under the Means Test, the Court calculates a debtor's current

monthly income, reduces that figure by certain living expenses, and multiplies the difference by

60. If that figure is greater than $13,650, the Court must presume that the debtor's case is abusive.

                                                 9.

       If a presumption of abuse arises, the debtor may rebut it only by demonstrating special

circumstances, such as a serious medical condition or a call or order to active duty in the Armed

Forces, to the extent such special circumstances justify additional expenses or adjustments of

current monthly income for which there is no reasonable alternative.



               III. THE PRESUMPTION OF ABUSE ARISES IN THIS CASE

                                                 10.

       Based upon a review of Debtor's Bankruptcy Petition and Schedules, Movant believes that

the Debtor has failed to disclose all income generated and received within the twelve (12) months

prior to the filing of the instant case and thereby attempting to manipulate the correct calculation

of the Means Test.
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                                                11.

       Movant further believes that Debtor, being an attorney at law, knowingly and purposely

failed to fully disclose and specify in her Petition the basis for the judgment against her, and the

significant amount of debt owed to Movant as that would raise questions on the good faith filing

of the instant case, and whether or not the debt owed to Movant should be dischargeable.

                                                12.

       Moreover, Movant believes that Debtor, intentionally failed to appear at the hearing set for

November 15, 2021, at Dekalb County Courthouse, on the civil suit action against her (Civil

Action File No.: 18A68278-2) to prevent an actual trial which would have resulted in the Court's

entry of a final judgment for fraud which in turn could have deemed the debt owed to Movant

non-dischargeable. Notice of Hearing attached hereto as Exhibit "B".

                                                13.

       Lastly, Movant brings the attention of this Honorable Court to the Debtor's intention to

retain a luxury vehicle, a 2019 BMW 430i, purchased in July 2021, a mere eight (8) months

before filing the instant case, and proposing a monthly payment of $742.00 for this loan, while

discharging over $205,000 in debt from all other creditors.

                                                14.

       Movant moves this Court to find that the granting of relief sought through this Chapter 7

case would be an abuse of the provisions of this chapter.



       WHEREFORE, Movant prays for the entry of an Order declaring the debt owed to

Movant non-dischargeable, to allow Movant to pursue any legal or other action necessary to

collect the funds owed by Debtor, to dismiss or convert this instant case to one under Chapter 13,
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and for such further relief as the Court deems just and pre .er.


Dated: May 9, 2022.                           Respec    11


                                                illiam C. Eak n
                                              Movant
                                              706 Highland Ave. NE
                                              Atlanta, GA 30312
                                              williamceakin@aol.corn
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                                       STATE COURT OF DEKALB COUNTY
                                                        GEORGIA, DEKALB COUNTY

                                                     WRIT OF FIER! FACIAS
                                                                          William C Eakin


                                                                                                                      Plaintiff(s)
                                                                                                          Vs
     18A68278-2                         CASE NUMBER                       T FLeming & Associates LLC and Talitha S. Fleming,
                                                                          jointly and severally
      November 08, 2021                 JUDGMENT DATE
      Plaintiff's Attorney-Name, Address & Telephone                                                                  Defendant(s)
      David J Hungeling                                                   To the Marshal of the State Court of DeKalb County or his
     1718 Peachtree Street                                                lawful Deputies and to all and singular the Sheriffs of the State
      Peachtree 25th, Suite 599                                           or their lawful Deputies: and to all lawful Constables of said
     Atlanta, GA 30337                                                    State.
     (404) 574-2466                   Telephone & Area Code
                                                                          In the above styled case, and on the judgment date set out, the
      FiFa in Hands of:               ATTORNEY
                                                                          plaintiff(s) named above recovered against the defendant(s)
                                                                          named above, judgment in the following sums:
                            CANCELLATION
     The within and foregoing Fi Fa, having been paid in full the
     Clerk of Superior Court is hereby directed to cancel it of
     record this      day of                     , 2022
                                                                                                          $101,344.08           Principal

     Signature:                                                                                            $14,332.24           Interest
                                                                                                                 $954.23        Other
     Title:                                                                                                $43,524.00           Attorney's Fees
                                                                                                                   $0.00        Court Costs
                                                                                                          $160,154.55          Total
                                                                       NOTE:



     With future interest of $10.62 per day from 10/20/2021 through the date of the Default Judgment.
     Therefore, YOU ARE COMMANDED, that the goods and chattels, lands and tenements of said defendant(s), and
      ESPECIALLY/ONLY of the following described property, to wit:
               You cause to be made the several sums set out in the foregoing recital of the judgment in this case and have the said
     several sums of money before the State Court of this County at the next term of court, with this WRIT to render to said
     plaintiff(s) the principal, interest, attorney fees and cost aforesaid.
     Witness the Honorable Judges of said Court.

     25th day of March, 2022
                                                                    Mary Bell,
                                                                         B e l,l
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                                           Debra DeBerry
                                       Clerk of Superior Court                        ,,,,,,,,,,,,,,,,,
                                      DeKalb County, Georgia




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                                                                                          .

                                  STATE COURT OF DEKALB COUNTY
                                         STATE OF GEORGIA




William Eakin VS T FLEMING & ASSOCIATES LLC, Talithia Fleming
Case Number: 18A68278


Greetings:


You are hereby notified to set all other business aside and to appear in the courtroom of Kimberly
Anderson located in Courtroom 2A, at the DeKalb County Courthouse, 556 N. McDonough Street,
Decatur, Ga. 30030, for the following case:


Case Style:          William Eakin VS T FLEMING & ASSOCIATES LLC,Talithia Fleming
Event Type:          Non-Jury
Event Date:          11/15/2021
Event Time:          9:30 AM




Sincerely,




R. Javoyne Hicks, Clerk
State Court of DeKalb County




                                                                                                         STATE COUR'
                                                                                                     DEKALB COUNTY,
                                                                                                        10/7/2021 11:21
                                                                                                                   E-FI
